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EXHIBIT 5
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    UPPER MERION TOWNSHIP POLICE                                                                                                       09/23/2021
    Incident Report Form                                                                                                      DISTURBANCE




           OPERATOR IS CONS AND ALERT, BUT LAYING ON THE GROUND WITH LEG INJ. NO HELMET




  COMMENTS / NARRATIVES
Title

SUPPLEMENTAL
Narrative Created By / Creation Date                                09/23/2021   Narrative Updated By / Update On                           09/24/2021

Narrative Approved By / Approved Date




       Written statement of Witness,                                 taken on September 23, 2021 at 1140 hours at his
    residence located at                             .

      "Q: My name is Officer Valocchi, and I would like to ask you some questions. Are you willing to provide
    me with a statement today?
      A: Yes.

           Q: Do you read and understand the English language?
           A: I understand it.

           Q: Are you currently under the influence of any drugs or alcohol?
           A: No.

      Q: At 930 AM today, did you hear anything outside your home?
      A: I heard a thump and went outside. I saw a motorcycle on the ground in front of Howard's truck. The kid
    was laying next to the truck. Howard was standing next to the driver's side. They were arguing.

           Q: Did you see anyone approach the kid and Howard?
           A: His brother came down the street with a 2.5 foot steel bar yelling at Howard.

           Q: What was he doing with the bar?
           A: He was moving it forward towards Howard. He was saying "What did you do to my brother?"

           Q: Were there verbal threats?
           A: I didn't hear anything specific.

           Q: How close did the brother get to Howard while holding the pipe?
           A: About 5 feet.


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           Q: What did Howard do?
           A: Howard backed up, went to the passenger side of the truck and pulled out a knife to protect himself.

           Q: What did the knife look like?
           A: It was about 7 inches, black handle removed from a black sheath. Looked like a filet knife.

           Q: What motions did he make with the knife?
           A: He removed it, took a step or two forward and just held it.

       Q: Then what happened?
       A: I told Howard to wait for the cops. He went and sat down on his step as the brother dropped the
    pipe/bar.

           Q: Did you ever see Howard with a firearm during this incident?
           A: No.

           Q: Is the information contained in this statement true and correct to the best of your knowledge and belief?
           A: Yes.

           Q: Was this statement given of your own free will and accord, without any promises or threats?
           A: Yes.

           Q: Are there any corrections in the statement that you wish to make?
           A: No.

           Q: Is there anything you would like to add to the statement?
           A: Not at this time."

           Statement concluded at 1200 hours.

  COMMENTS / NARRATIVES
Title

INITIAL REPORT
Narrative Created By / Creation Date                                09/23/2021   Narrative Updated By / Update On                           09/24/2021

Narrative Approved By / Approved Date




       On September 23, 2021 at 0936 hours I arrived to the front of                                            for a motorcycle accident
    just after Officer        .

    Onscene Initial Observations:

      I located             sitting on the ground on the north side of Summit Street. He was being assessed
    by an off-duty EMT.           was conscious and alert. He had bleeding from his left eyebrow area, right
    hand and also an open wound that was actively bleeding just below his right knee.

              was seated next to a pick-up truck                    The truck was parked directly in front of
                  t and was registered to the resident of that address, Howard Richardson. Richardson later
    confirmed the dents and scrapes to the front, left bumper were caused by this incident.


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   There was also white                     motorcycle standing up in front of the truck with some dents and
cracks to the front fender, front tire damage, a missing left mirror and scrapes along the left side.

   There was a metal spike approximately 2 feet long laying in the roadway as well.
brother, was on scene and appeared upset with what occurred. He was calmed down by PD and told to
allow the investigation to occur.

Onscene Interviews:

   I spoke briefly with          who was being tended to by UMEMS upon their arrival.           stated he was
test driving the motorcycle on Summit Street because he and his brother,               were repairing it for a
customer. He stated he made on loop from Summit to Flint Hill to A Street to U Street and back to Summit
Street (in front of Hertzog's Deli). He then turned the motorcycle around and was traveling east on Summit,
towards U Street. He stated that a male, later identified as Richardson, tackled him off the motorcycle as he
was coming by                        . He came off the bike and landed on the ground. He stated Richardson
then began yelling at him.                 was transported by UMEMS to            Hospital for treatment and
evaluation. I will follow up with a written statement when        is ready and able.

   I then spoke to Richardson. Richardson stated that            had ridden the motorcycle down the street a
few minutes prior to the incident at a high rate of speed. He stated that he was outside. He stated when he
saw           start to come back down Summit from the area of Hertzog's Deli he went into the middle of the
roadway and began to move his arms up and down to slow down                . He stated as        approached
he did not slow down and he believed            was attempting to run him over so he moved to the left to avoid
a collision at which point he was clipped by the right mirror/handlebar of the motorcycle. The motorcycle
crashed into Richardson's parked pick-up truck and            was separated from the motorcycle and ended
up on the ground. Richardson stated he then called 911.

   Richardson stated that another male, identified as                    , came from the same direction on
Summit Street about 5 minutes later. He stated             was holding a long metal spike and was waving it at
him. He stated            threatened to harm him. Richardson stated that he moved towards his vehicle and
told them that "he had something for him" if he continued to approach. him. Richardson denied brandishing
any weapon including a firearm or knife during the incident. He did state he owns many firearms and keeps
a knife in his pick-up. He stated he does not have any firearms in the pick-up truck. He stated he was
currently appealing a rescission of his permit to conceal.

   I then spoke with                . He stated         called him and told him Richardson had tackled him
off of the motorcycle.           stated he did come to the scene with the metal spike to protect him and his
brother based on what he thought occurred.            stated that Richardson "brandished a firearm" upon his
arrival and he dropped the pipe.

   I was able to speak with, and take a written statement, from
lives next door to Richardson and came outside after hearing the motorcycle crash.              came outside
and saw            on the ground and he and Richardson arguing. He saw                come to the scene with
the metal spike. He stated that as           approached Richardson, Richardson went to the passenger side
of the truck and pulled out a 7" slim knife with a black handle out of a black sheath. He stated Richardson
just held the knife and did not make an aggressive move. At this time,            told Richardson to just wait
for the cops. Richardson went and sat on his steps and            dropped the spike.          stated he never
saw Richardson brandish a firearm.


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Additional Investigation and Evidence:

                                               had Ring Doorbell footage of the incident with audio. She was
able to allow me to view it on her cell phone and sent me the two videos via email.

   The first video (9/23/21 at 09:28:57 hours) shows Richardson standing in the middle of Summit Street in
front his home waving his arms up and down.              rides towards him on the motorcycle and seems to
slow and attempt to avoid him to the left side. Richardson reaches to his right and makes contact with
         which looks like an attempt to grab him off the motorcycle.        then loses control and crashes
into the front of Richardson's pick-up causing him to separate from the motorcycle and go over the hood of
the truck. There is some argument that can be heard just after.

   The second video (9/23/21 at 09:29:43 hours) has additional argument heard between                   and
Richardson.           can be seen walking toward the scene holding the spike. There is additional argument
between all of them and            can be seen moving closer to Richardson. Richardson retreats to the
passenger side of his truck. You cannot see what he takes out. However, a short time later            drops
the spike and         can be heard telling Richardson that he is making it worse.

Injury and Investigation Initial Follow-Up:

   I contacted                            mother, by phone due to              currently undergoing treatment in
the ED. I advised       that our investigation into charges was ongoing and requested they have patience.
She understood. I also advised her that I would need to get                 statement when he was recovering
from his injuries. She agreed that next Monday (9/27) or Tuesday (9/28) would be appropriate and stated he
would contact me when he is available. I will follow up if I do not hear back.

       stated that he received stitches to his left eyebrow area, had ligament damage to fingers on his right
hand and a "chunk taken out of his right leg that needs surgery." She also advised he was currently going to
get an x-ray and/or MRI for his side.




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